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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

UNITED STATES OF AMERICA ex rel.
CHRISTINE H. OHA,

Plaintiff/Relator,
vs. Case No. 2:15-cv-350-FtM-29CM
ADVANCED PAIN MANAGEMENT AND SPINE
SPECIALISTS OF CAPE CORAL AND FORT
MYERS, ET AL.,

Defendants.

 

ORDER

This matter comes before the Court on the United States’ Notice
of Partial Intervention for the Purpose of Settlement and
Declination as to the Remaining Defendants. The United States
requests that the Relator’s Complaint, the United States’ Notice
of Partial Intervention for the Purpose of Settlement and
Declination as to the Remaining Defendants, and this Order be
unsealed. The United States further requests that the remainder
of the file, and its contents, remain under seal. Upon review,
the Court finds good cause to allow the partial lifting of the
seal.

Accordingly, it is hereby

ORDERED:

1. The seal is partially lifted as to the Relator’s

Complaint, The United States’ Notice of Partial Intervention for

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the Purpose of Settlement and Declination as to the Remaining

Defendants, and this Order.

2. Aside from this partial lifting of the seal, the
remainder of the file, and its contents, shall remain under seal

until further order of the Court.

DONE AND ORDERED at Fort Myers, Florida, this 13th day

of March, 2019.

whi Ek tbob.

J E. STEELE
SR¥IOR UNITED STATES DISTRICT JUDGE

Copies furnished to:
Relator Counsel of Record
AUSA
